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				SUSPENSION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS2015 OK 10Decided: 03/02/2015THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2015 OK 10, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 


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RE: Suspension of Certificates of Certified Shorthand Reporters




ORDER


The Oklahoma Board of Examiners of Certified Shorthand Reporters has recommended to the Supreme Court of the State of Oklahoma the suspension of the certificate of each of the Oklahoma Certified Shorthand Court Reporters listed on the attached Exhibit for failure to comply with the continuing education requirements for calendar year 2014 and/or with the annual certificate renewal requirements for 2015.

Pursuant to 20 O.S., Chapter 20, App. 1, Rule 20(c), failure to satisfy the annual renewal requirements on or before February 15 shall result in administrative suspension on that date. Pursuant to 20 O.S., Chapter 20, App. 1, Rule 23(d), failure to satisfy the continuing education reporting requirements on or before February 15 shall result in administrative suspension on that date.

IT IS THEREFORE ORDERED that the certificate of each of the court reporters named on the attached Exhibit is hereby suspended effective February 15, 2015.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 2ND day of March, 2015.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.




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Exhibit


	
		
			
			Name
			
			
			CSR #
			
			
			Reason
			
		
		
			
			Jennifer L. Adams
			
			
			1936
			
			
			Continuing Education
			
		
		
			
			Lisa D. Carpenter
			
			
			1758
			
			
			Continuing Education and Renewal Fee
			
		
		
			
			Laurie Johnson
			
			
			1437
			
			
			Continuing Education and Renewal Fee
			
		
		
			
			Kristin C. Randall
			
			
			1784
			
			
			Continuing Education and Renewal Fee
			
		
		
			
			Deanna Szurgot
			
			
			1665
			
			
			Continuing Education and Renewal Fee
			
		
		
			
			Krista L. Wagner
			
			
			1870
			
			
			Continuing Education and Renewal Fee
			
		
	


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